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                                    UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA


       John J. Fuery
      Plaintiff(s)/Petitioner(s),

vs.
                                               CASE NO. 2:18-cv-00982-KJM-CKD

       Mark Cherry, et. al.
      Defendant(s)/Respondents(s).


IMPORTANT
    IF YOU CHOOSE TO CONSENT OR DECLINE TO CONSENT TO JURISDICTION OF
 A UNITED STATES MAGISTRATE JUDGE, CHECK AND SIGN THE APPROPRIATE
 SECTION OF THIS FORM AND RETURN IT TO THE CLERK'S OFFICE.


                           ✔
                                 CONSENT TO JURISDICTION OF
                                UNITED STATES MAGISTRATE JUDGE

  In accordance with the provisions of Title 28, U.S.C Sec. 636(c)(1), the undersigned
hereby voluntarily consents to have a United States Magistrate Judge conduct all further
proceedings in this case, including trial and entry of final judgment, with direct review by the
Ninth Circuit Court of Appeals, in the event an appeal is filed.

      Date: ___________________
            June 13, 2018                 Signature: _______________________________
                                                     /s/ Jill B. Nathan

                                          Print Name: ______________________________
                                                      Jill B. Nathan
                                               ( ) Plaintiff/Petitioner ( ) Defendant/Respondent
                                          ( ) Counsel for *___________________________
                                           ✔                Defs: Cherry, Kubochi, Chen, Harry, Maroun, Stratton, & Asterlin




                                 DECLINE OF JURISDICTION OF
                                UNITED STATES MAGISTRATE JUDGE

  Pursuant to Title 28, U.S.C. Sec 636(c)(2), the undersigned acknowledges the
availability of a United States Magistrate Judge but hereby declines to consent.


      Date: ___________________           Signature: _______________________________

                                          Print Name: ______________________________
                                               ( ) Plaintiff/Petitioner ( ) Defendant/Respondent
                                          ( ) Counsel for *___________________________



*If representing more than one party, counsel must indicate name of each party responding.
